                                                                               Case
                                                                   B201B (Form 201B)    16-30936
                                                                                     (12/09)           Doc 13        Filed 09/21/16 Entered 09/21/16 09:54:55                         Desc Main
                                                                                                                      Document     Page 1 of 36
                                                                                                                  United States Bankruptcy Court
                                                                                                              Middle District of Georgia, Athens Division

                                                                   IN RE:                                                                                            Case No. 16-30936
                                                                   Barrett, Benjamin Charles                                                                         Chapter 13
                                                                                                              Debtor(s)

                                                                                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                     UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
© 2016 CINgroup 1.866.218.1003 – CINcompass (www.cincompass.com)




                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Barrett, Benjamin Charles                                              X /s/ Benjamin Charles Barrett                              9/20/2016
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known) 16-30936                                           X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
                   Case 16-30936                       Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                                       Desc Main
                                                                          Document     Page 2 of 36
 Fill in this information to identify your case and this filing:

 Debtor 1                    Benjamin Charles Barrett
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number            16-30936                                                                                                                              Check if this is an
                                                                                                                                                               amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                   12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply


        125 Mountain Ct
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the        Current value of the
        Covington                         GA        30016-7107                     Land                                       entire property?            portion you own?
        City                              State          ZIP Code                  Investment property                                $77,200.00                   $77,200.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only                                  Fee Simple
        Newton                                                                     Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                            $77,200.00
 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                 Case 16-30936                 Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                Desc Main
                                                                   Document     Page 3 of 36
 Debtor 1         Barrett, Benjamin Charles                                                                    Case number (if known)     16-30936
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Jeep                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Compass                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      2014                                      Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                 34680           Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
        2014 Jeep Compass
                                                              Check if this is community property                             $19,600.00                 $19,600.00
                                                                  (see instructions)



  3.2    Make:      Nissan                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Truck                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      1994                                      Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:               200000            Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
        1994 Nissan Frontier
                                                              Check if this is community property                               $1,200.00                 $1,200.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
   Yes
  4.1    Make:      Chevrolet                                Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     RV                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      1989                                      Debtor 2 only                                           Current value of the      Current value of the
                                                              Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
                                                              Check if this is community property                             $7,000.00                   $7,000.00
         1989 Chevrolet RV                                        (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $27,800.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Household Goods                                                                                                          $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   Electronics                                                                                                                 $400.00

Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                  Case 16-30936                            Doc 13                Filed 09/21/16 Entered 09/21/16 09:54:55                            Desc Main
                                                                                  Document     Page 4 of 36
 Debtor 1          Barrett, Benjamin Charles                                                                                Case number (if known)   16-30936

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.        Describe.....
                                            Equipment for sports and hobbies                                                                                           $50.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.        Describe.....
                                            Firearms                                                                                                                 $125.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Clothes                                                                                                                    $75.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            Jewelry                                                                                                                    $20.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.        Describe.....
                                            1 dog (no market value)                                                                                                     $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $1,670.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................



Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 3
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                     Doc 13          Filed 09/21/16 Entered 09/21/16 09:54:55                               Desc Main
                                                                   Document     Page 5 of 36
 Debtor 1        Barrett, Benjamin Charles                                                                      Case number (if known)   16-30936
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                        17.1.    Checking Account             Wells Fargo                                                              $120.00



                                        17.2.    Checking Account             Wells Fargo                                                                $0.00



                                        17.3.    Savings Account              Wells Fargo                                                              $140.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                      Institution name:
                                        401(k) or Similar Plan                West Rock (401k)                                                       $4,028.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
Official Form 106A/B                                                   Schedule A/B: Property                                                            page 4
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                      Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                                              Desc Main
                                                                      Document     Page 6 of 36
 Debtor 1        Barrett, Benjamin Charles                                                                                  Case number (if known)         16-30936
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $4,288.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.


Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 5
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                  Case 16-30936                        Doc 13               Filed 09/21/16 Entered 09/21/16 09:54:55                                                 Desc Main
                                                                             Document     Page 7 of 36
 Debtor 1         Barrett, Benjamin Charles                                                                                             Case number (if known)   16-30936


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $77,200.00
 56. Part 2: Total vehicles, line 5                                                                           $27,800.00
 57. Part 3: Total personal and household items, line 15                                                       $1,670.00
 58. Part 4: Total financial assets, line 36                                                                   $4,288.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $33,758.00              Copy personal property total            $33,758.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $110,958.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936               Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                               Desc Main
                                                                   Document     Page 8 of 36
 Fill in this information to identify your case:

 Debtor 1                Benjamin Charles Barrett
                         First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

                                                                                                                                 O.C.G.A. § 44-13-100(a)(1)
      125 Mountain Ct
                                                                   $77,200.00                                     $2,200.00
      Covington GA, 30016-7107                                                              100% of fair market value, up to
      County : Newton                                                                        any applicable statutory limit
      Line from Schedule A/B: 1.1

      Jeep                                                                                                                       O.C.G.A. § 44-13-100(a)(3)
      Compass
                                                                   $19,600.00                                       $500.00
      2014                                                                                  100% of fair market value, up to
      34680                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Nissan                                                                                                                     O.C.G.A. § 44-13-100(a)(3)
      Truck
                                                                    $1,200.00                                     $1,200.00
      1994                                                                                  100% of fair market value, up to
      200000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.2

      Chevrolet                                                                                                                  O.C.G.A. § 44-13-100(a)(6)
      RV
                                                                    $7,000.00                                     $2,200.00
      1989                                                                                  100% of fair market value, up to
      350000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 4.1




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 3
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                           Desc Main
                                                                   Document     Page 9 of 36
     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Household Goods                                                                                                         O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 6.1
                                                                    $1,000.00                                 $1,000.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Electronics                                                                                                             O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 7.1
                                                                       $400.00                                  $400.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Equipment for sports and hobbies                                                                                        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 9.1
                                                                        $50.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Firearms                                                                                                                O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 10.1
                                                                       $125.00                                  $125.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Clothes                                                                                                                 O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                        $75.00                                   $75.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Jewelry                                                                                                                 O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 12.1
                                                                        $20.00                                   $20.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     1 dog (no market value)                                                                                                 O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 13.1
                                                                          $0.00                                    $0.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo                                                                                                             O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                       $120.00                                  $120.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo                                                                                                             O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                          $0.00                                    $0.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo                                                                                                             O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.3
                                                                       $140.00                                  $140.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     West Rock (401k)                                                                                                        O.C.G.A. § 44-13-100(a)(2.1)
     Line from Schedule A/B: 21.1
                                                                    $4,028.00                                 $4,028.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                  Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                Desc Main
                                                                   Document     Page 10 of 36
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                    page 3 of 3
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936                  Doc 13           Filed 09/21/16 Entered 09/21/16 09:54:55                                    Desc Main
                                                                    Document     Page 11 of 36
 Fill in this information to identify your case:

 Debtor 1                   Benjamin Charles Barrett
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     1st Franklin Financial                   Describe the property that secures the claim:                  $4,860.00                 $7,000.00                    $0.00
         Creditor's Name
                                                  1989 Chevrolet RV

                                                  As of the date you file, the claim is: Check all that
         6163 US HIGHWAY 278                      apply.
         Covington, GA 30014                       Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2015                      Last 4 digits of account number


 2.2     Covington Credit                         Describe the property that secures the claim:                     $382.00                   $750.00                   $0.00
         Creditor's Name
                                                  Non Purchase Non Possessory
                                                  Household Goods
         2125 Pace St Ste C                       As of the date you file, the claim is: Check all that
         Covington, GA                            apply.
         30014-6660                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                    Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                             Desc Main
                                                                     Document     Page 12 of 36
 Debtor 1 Benjamin Charles Barrett                                                                         Case number (if know)   16-30936
              First Name                  Middle Name                     Last Name


 2.3    Credit Central #1                          Describe the property that secures the claim:                     $860.00           $750.00       $110.00
        Creditor's Name
                                                   Non Purchase Non Possessory
                                                   Household Goods
        2119 Pace St                               As of the date you file, the claim is: Check all that
        Covington, GA                              apply.
        30014-6652                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.4    Credit Central #2                          Describe the property that secures the claim:                   $1,060.00           $750.00       $310.00
        Creditor's Name
                                                   Non Purchase Non Possessory
                                                   Household Goods
        2119 Pace St                               As of the date you file, the claim is: Check all that
        Covington, GA                              apply.
        30014-6652                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.5    Farmers Furniture                          Describe the property that secures the claim:                   $1,000.00          $1,000.00         $0.00
        Creditor's Name
                                                   Furniture

        3197 Elm St NE                             As of the date you file, the claim is: Check all that
        Covington, GA                              apply.
        30014-2407                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Newton Federal Savings
 2.6                                               Describe the property that secures the claim:                 $45,469.00               $0.00   $45,469.00
        & Loan
        Creditor's Name
                                                   House and lot in Newton County,
                                                   GA.
        3175 Highway 278
        Covington, GA 30014
Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 4
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                    Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                             Desc Main
                                                                     Document     Page 13 of 36
 Debtor 1 Benjamin Charles Barrett                                                                         Case number (if know)   16-30936
              First Name                  Middle Name                     Last Name


                                                   As of the date you file, the claim is: Check all that
                                                   apply.
                                                    Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Account
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Santander Consumer
 2.7                                               Describe the property that secures the claim:                 $19,536.00          $19,600.00         $0.00
        USA
        Creditor's Name
                                                   2014 Jeep Compass

        PO Box 961245                              As of the date you file, the claim is: Check all that
        Fort Worth, TX                             apply.
        76161-0244                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2015                        Last 4 digits of account number


 2.8    Service Loan Company                       Describe the property that secures the claim:                     $799.00           $750.00        $49.00
        Creditor's Name
                                                   Non Purchase Non Possessory
                                                   Household Goods
                                                   As of the date you file, the claim is: Check all that
        2166 Salem Rd SE                           apply.
        Conyers, GA 30013-1824                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.9    World Finance                              Describe the property that secures the claim:                   $4,510.00           $750.00    $3,760.00
        Creditor's Name
                                                   Non Purchase Non Possessory
                                                   Household Goods
                                                   As of the date you file, the claim is: Check all that
        3138 B Hwy # 278                           apply.
        Covington, GA 30014                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                Desc Main
                                                                   Document     Page 14 of 36
 Debtor 1 Benjamin Charles Barrett                                                                      Case number (if know)    16-30936
             First Name                Middle Name                     Last Name


                                                  Disputed
 Who owes the debt? Check one.                   Nature of lien. Check all that apply.
 Debtor 1 only                                  An agreement you made (such as mortgage or secured
  Debtor 2 only                                      car loan)
  Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another        Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)
     community debt

 Date debt was incurred                                  Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                             $78,476.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                            $78,476.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 4 of 4
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936                  Doc 13          Filed 09/21/16 Entered 09/21/16 09:54:55                                           Desc Main
                                                                   Document     Page 15 of 36
 Fill in this information to identify your case:

 Debtor 1                  Benjamin Charles Barrett
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Comcast                                                Last 4 digits of account number                                                                      $600.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?
              2140 Flintstone Dr
              Tucker, GA 30084-5008
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com                                               12345
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                     Desc Main
                                                                   Document     Page 16 of 36
 Debtor 1 Barrett, Benjamin Charles                                                                     Case number (if know)            16-30936

 4.2      Comcast                                                  Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
          c/o I. C. Systems Inc.                                   When was the debt incurred?
          PO Box 64378
          Saint Paul, MN 55164-0378
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account(amount unknown)


 4.3      Crescent Bank & Trust                                    Last 4 digits of account number                                                     $9,873.00
          Nonpriority Creditor's Name
          c/o McCullough, Payne et. al                             When was the debt incurred?
          2000 Riveredge Pkwy Ste 585
          Atlanta, GA 30328-4694
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account


 4.4      Crescent Bank & Trust                                    Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?
          1100 Poydras St
          New Orleans, LA 70163-1101
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account(amount unknown)




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                     Desc Main
                                                                   Document     Page 17 of 36
 Debtor 1 Barrett, Benjamin Charles                                                                     Case number (if know)            16-30936

 4.5      FHA/HUD                                                  Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?
          5 Points Plz Bldg 1700
          Atlanta, GA 30303
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Possible Mortgage Guarantor (amount
           Yes                                                    Other. Specify      unknown)

 4.6      GA Emergency Physician                                   Last 4 digits of account number       3088                                                $0.00
          Nonpriority Creditor's Name
          c/o Darnel Quick Recovery                                When was the debt incurred?
          PO Box 2416
          Covington, GA 30015-7416
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account(amount unknown)


 4.7      Piedmont Newton Hospital                                 Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?
          5126 Hospital Dr NE
          Covington, GA 30014-2566
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account(amount unknown)




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                     Desc Main
                                                                   Document     Page 18 of 36
 Debtor 1 Barrett, Benjamin Charles                                                                     Case number (if know)            16-30936

 4.8      Piedmont Newton Hospital                                 Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
          c/o Darnel Quick Recovery                                When was the debt incurred?
          PO Box 2416
          Covington, GA 30015-7416
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Account(amount unknown)


 4.9      U.S. Attorney MDGA                                       Last 4 digits of account number                                                           $0.00
          Nonpriority Creditor's Name
          Civil Div. Attn: Civil Clerk                             When was the debt incurred?
          300 Mulberry St Fl 4
          Macon, GA 31201-7999
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Notice Only


 4.10     U.S. Dept. of Education                                  Last 4 digits of account number                                                     $22,854.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?
          PO Box 2005
          Greenville, TX 75403-2005
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
                                                                   Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                 Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify
                                                                                        Student Loans




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                   Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                                     Desc Main
                                                                   Document     Page 19 of 36
 Debtor 1 Barrett, Benjamin Charles                                                                     Case number (if know)            16-30936

 4.11      Verizon                                                 Last 4 digits of account number                                                            $600.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           PO Box 4004
           Acworth, GA 30101-9005
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Account


 4.12      Veterans Affairs                                        Last 4 digits of account number                                                               $0.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           1700 Clairmont Rd
           Decatur, GA 30033-4032
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Possible Mortgage Guarantor(amount
            Yes                                                   Other. Specify      unknown)

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                               6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                              6f.       $                      22,854.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.       $                           0.00

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                    Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                         Desc Main
                                                                   Document     Page 20 of 36
 Debtor 1 Barrett, Benjamin Charles                                                                  Case number (if know)   16-30936
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $              11,073.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $              33,927.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 6 of 6
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936                 Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                            Desc Main
                                                                    Document     Page 21 of 36
 Fill in this information to identify your case:

 Debtor 1                 Benjamin Charles Barrett
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936                    Doc 13            Filed 09/21/16 Entered 09/21/16 09:54:55                 Desc Main
                                                                       Document     Page 22 of 36
 Fill in this information to identify your case:

 Debtor 1                   Benjamin Charles Barrett
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number            16-30936
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                  Case 16-30936             Doc 13        Filed 09/21/16 Entered 09/21/16 09:54:55                                  Desc Main
                                                           Document     Page 23 of 36


Fill in this information to identify your case:

Debtor 1                      Benjamin Charles Barrett

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF GEORGIA, ATHENS
                                              DIVISION

Case number               16-30936                                                                         Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              Truck Driver                                 Infant Teacher
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Westrock Services Inc.                       Brown Bridge Learning Center

       Occupation may include student or Employer's address
                                                                     504 Thrasher St                              12710 Brown Bridge Rd
       homemaker, if it applies.
                                                                     Norcross, GA 30071-1967                      Covington, GA 30016-2961

                                             How long employed there?           2 years                                    11 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         4,893.00        $         1,390.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      4,893.00               $   1,390.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
             Case 16-30936              Doc 13         Filed 09/21/16 Entered 09/21/16 09:54:55                                   Desc Main
                                                        Document     Page 24 of 36

Debtor 1    Barrett, Benjamin Charles                                                               Case number (if known)    16-30936


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      4,893.00       $         1,390.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        970.00       $           250.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00       $             0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $        196.00       $             0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $         43.00       $             0.00
      5e.    Insurance                                                                       5e.        $        273.00       $             0.00
      5f.    Domestic support obligations                                                    5f.        $          0.00       $             0.00
      5g.    Union dues                                                                      5g.        $          0.00       $             0.00
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +     $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          1,482.00       $           250.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          3,411.00       $          1,140.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                             8b.        $              0.00   $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                          8d.        $              0.00   $                0.00
      8e.    Social Security                                                                 8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            3,411.00 + $       1,140.00 = $            4,551.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $           4,551.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
             Case 16-30936                 Doc 13         Filed 09/21/16 Entered 09/21/16 09:54:55                                    Desc Main
                                                           Document     Page 25 of 36


Fill in this information to identify your case:

Debtor 1                Benjamin Charles Barrett                                                             Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF GEORGIA, ATHENS                                        MM / DD / YYYY
                                           DIVISION

Case number           16-30936
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                                                                                  Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                         93.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                         63.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                         50.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                          0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case 16-30936                  Doc 13          Filed 09/21/16 Entered 09/21/16 09:54:55                                      Desc Main
                                                           Document     Page 26 of 36

Debtor 1     Barrett, Benjamin Charles                                                                 Case number (if known)       16-30936

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              350.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                80.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              315.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              600.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                                60.00
11.   Medical and dental expenses                                                              11. $                                                23.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               295.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               278.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,307.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,307.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               4,551.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,307.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               2,244.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                  Case 16-30936           Doc 13       Filed 09/21/16 Entered 09/21/16 09:54:55                            Desc Main
                                                        Document     Page 27 of 36


Fill in this information to identify your case:

Debtor 1                    Benjamin Charles Barrett
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

Case number              16-30936
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Benjamin Charles Barrett                                      X
             Benjamin Charles Barrett                                          Signature of Debtor 2
             Signature of Debtor 1

             Date       September 20, 2016                                     Date
                   Case 16-30936                     Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                                 Desc Main
                                                                         Document     Page 28 of 36
 Fill in this information to identify your case:

 Debtor 1                   Benjamin Charles Barrett
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $              77,200.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              33,758.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             110,958.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              78,476.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              33,927.00


                                                                                                                                     Your total liabilities $                   112,403.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                4,551.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,307.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                     Desc Main
                                                                   Document     Page 29 of 36
 Debtor 1     Barrett, Benjamin Charles                                                      Case number (if known) 16-30936

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $   6,045.53


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            22,854.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             22,854.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                   Case 16-30936               Doc 13              Filed 09/21/16 Entered 09/21/16 09:54:55                              Desc Main
                                                                    Document     Page 30 of 36


 Fill in this information to identify your case:

 Debtor 1                 Benjamin Charles Barrett
                          First Name                      Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF GEORGIA, ATHENS DIVISION

 Case number           16-30936
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until             Wages, commissions,                         $38,236.00         Wages, commissions,
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13              Filed 09/21/16 Entered 09/21/16 09:54:55                              Desc Main
                                                                    Document     Page 31 of 36
 Debtor 1     Barrett, Benjamin Charles                                                                   Case number (if known)   16-30936


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For last calendar year:                          Wages, commissions,                         $50,276.00         Wages, commissions,
 (January 1 to December 31, 2015 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                         $55,709.00         Wages, commissions,
 (January 1 to December 31, 2014 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe
       Newton Federal Bank                                                                          $0.00               $0.00      Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13              Filed 09/21/16 Entered 09/21/16 09:54:55                             Desc Main
                                                                    Document     Page 32 of 36
 Debtor 1     Barrett, Benjamin Charles                                                                   Case number (if known)   16-30936


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe
       Santander Consumer USA                                                                       $0.00               $0.00       Mortgage
                                                                                                                                   Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case       Court or agency                         Status of the case
       Case number
       Crescent Bank & Trust                                      Collection (Plea         Magistrate Court of Newton               Pending
       1607440                                                    of Stay filed)           County, GA.                                On appeal
                                                                                                                                      Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                     Date                        Value of the
                                                                                                                                                           property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                     Date action was                   Amount
                                                                                                                            taken




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                  Desc Main
                                                                   Document     Page 33 of 36
 Debtor 1     Barrett, Benjamin Charles                                                                    Case number (if known)   16-30936


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                 Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                      Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
       how the loss occurred                                                                                                 loss                             lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Rhymer Bankruptcy Law LLC.                                                                                            8-31-16                      $80.00
       PO Box 81028
       Conyers, GA 30013-9028


       001Debtorcc                                                    001Debtorcc was paid $14.95 for credit                                              $14.95
                                                                      counseling.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                  Doc 13              Filed 09/21/16 Entered 09/21/16 09:54:55                               Desc Main
                                                                    Document     Page 34 of 36
 Debtor 1      Barrett, Benjamin Charles                                                                     Case number (if known)   16-30936


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment or             Amount of
       Address                                                        transferred                                             transfer was                 payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                   Describe any property or        Date transfer was
       Address                                                        property transferred                       payments received or debts      made
                                                                                                                 paid in exchange
       Person's relationship to you
       Eddie Williams                                                 2002 Harley Davidson Motor
                                                                      was swapped for the 1989
                                                                      Chevrolet Camper even. No
                                                                      money was exchange.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                          Date Transfer was
                                                                                                                                                 made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of           Type of account or          Date account was        Last balance before
       Address (Number, Street, City, State and ZIP               account number             instrument                  closed, sold,            closing or transfer
       Code)                                                                                                             moved, or
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                          have it?
                                                                      and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
               Case 16-30936                   Doc 13             Filed 09/21/16 Entered 09/21/16 09:54:55                                  Desc Main
                                                                   Document     Page 35 of 36
 Debtor 1     Barrett, Benjamin Charles                                                                        Case number (if known)   16-30936


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                   Court or agency                            Nature of the case                  Status of the
       Case Number                                                  Name                                                                           case
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                Case 16-30936                        Doc 13        Filed 09/21/16 Entered 09/21/16 09:54:55                               Desc Main
                                                                    Document     Page 36 of 36
 Debtor 1      Barrett, Benjamin Charles                                                                    Case number (if known)   16-30936



            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                             Describe the nature of the business            Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Benjamin Charles Barrett
 Benjamin Charles Barrett                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date      September 20, 2016                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7

Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
